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                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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       CARREA CHRISTOPHER,                                      Case No. 2:17-CV-738-RSL
10
                            Plaintiff,                          ORDER DENYING
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                       v.                                       DEFENDANT’S MOTION
12                                                              TO DISMISS FIRST
       FORD MOTOR COMPANY, INC.,                                AMENDED COMPLAINT
13
                            Defendant.
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15         This matter comes before the Court on defendant Ford Motor Company, Inc.’s “Motion
16 to Dismiss First Amended Complaint under FRCP 12(b)(2) and (3).” Dkt. #45. Defendant
17 requested that plaintiff’s First Amended Complaint (“FAC”) be dismissed for lack of personal
18 jurisdiction over defendant and improper venue. See Fed. R. Civ. P. 12(b). Plaintiff filed a
19 response on May 11, 2018. Dkt. #59. In its reply, defendant conceded that “the facts alleged for
20 the first time in Plaintiff’s Response, if alleged in the Complaint, would be sufficient to establish
21 specific personal jurisdiction over Ford.” Defendant’s counsel accordingly contacted plaintiff on
22 May 17, 2018, and offered to withdraw its pending motion upon the filing of a stipulation
23 allowing plaintiff leave to file a second amended complaint containing the additional
24 jurisdictional facts. Dkt. #61.
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           A stipulated motion to file a second amended complaint was filed on May 31, 2018. Dkt.
26
     #63. The parties also stipulated that defendant would “not assert any defense based on lack of
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     personal jurisdiction or improper venue.” Id. at 1. The stipulated motion was granted on
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 1 September 4, 2018, Dkt. #64, and plaintiff’s Second Amended Complaint was filed on
 2 September 11, 2018. Dkt. 65. Defendant filed its Answer on September 13, 2018. Dkt. #66.
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          Defendant’s motion to dismiss plaintiff’s FAC is therefore DENIED as moot.
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 6        DATED this 6th day of February, 2019.
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 8
                                                  A
                                                  Robert S. Lasnik
 9                                                United States District Judge

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     ORDER DENYING MOTION TO DISMISS- 2
